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                                   8                                   UNITED STATES DISTRICT COURT
                                   9                               NORTHERN DISTRICT OF CALIFORNIA
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                                  11    K. MWASI,
                                                                                            Case No. 20-03013 EJD (PR)
                                  12                      Plaintiff,
Northern District of California




                                                                                            ORDER OF DISMISSAL
 United States District Court




                                  13                v.

                                  14    RALPH DIAZ,
                                  15                      Defendant.
                                  16

                                  17             Plaintiff, a California state prisoner, filed a pro se civil rights action pursuant to
                                  18   42 U.S.C. § 1983. On September 9, 2020, the Court dismissed the complaint with leave to
                                  19   amend within twenty-eight days, i.e., no later than October 7, 2020. Dkt. No. 5.
                                  20             The deadline for Plaintiff to comply with the Court’s order has passed. Because
                                  21   Plaintiff has failed to file an amended complaint in the time provided, this action is
                                  22   DISMISSED without prejudice. The Clerk shall terminate all deadlines and close the file.
                                  23             IT IS SO ORDERED.
                                  24            10/20/2020
                                       Dated: _____________________                          ________________________
                                  25                                                         EDWARD J. DAVILA
                                                                                             United States District Judge
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                                       Order of Dismiss
